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   5                                              NOTE CHANGES MADE BY THE COURT
   6                                                                                          JS-6
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   8                               UNITED STATES DISTRICT COURT
   9             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  10
  11 JOSEPH F. INIGUEZ,                                  Case No. 2:22-cv-00106-MCS-GJS
  12                      Plaintiff,                     [PROPOSED] ORDER RE: JOINT
                                                         STIPULATION FOR STAY OF
  13             v.                                      PROCEEDINGS PENDING
                                                         COMPLETION OF DEPARTMENT
  14 OFFICER R. MARTINEZ, an                             OF JUSTICE INVESTIGATION
     individual and Officer of the Azusa                 (ECF No. 14)
  15 Police Department; CITY OF AZUSA,
     a public entity; and DOES 1 to 20,
  16
                   Defendants.                           Complaint Filed: 01/06/22
  17                                                     FAC Filed:       01/12/22
                                                         Trial Date:      N/A
  18
  19            Pursuant to the Joint Stipulation of the parties, and good cause appearing
  20 therefor, IT IS HEREBY ORDERED:
  21            1.        The Court hereby stays all further proceedings in this matter – including
  22 all non-expert and expert discovery, discovery and dispositive motions, and trial of
  23 the civil matter – for 120 days or until the pending criminal investigation by the
  24 Department of Justice has been completed, whichever occurs first. The Court directs
  25 the Clerk to remove the case from the Court’s active caseload until further
  26 application by the parties or order of this Court.
  27            2.        If the criminal investigation is still ongoing after the expiration of 120
  28 days from the entry of this order, the parties shall jointly issue a report to the Court
       4896-0474-3193.1
        [PROPOSED ORDER] JT STIP FOR STAY OF PROCEEDINGS PENDING COMPLETION OF DOJ INV
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   1 on the status of the criminal investigation. If the investigation is still ongoing at that
   2 time, the Court shall continue the stay, until such time as the investigation is
   3 completed. The parties shall file status reports to the Court every 120 days until
   4 such time as the investigation is completed. The parties shall provide a proposed
   5 order with their report if they agree that the stay should be extended. The Court
   6 will decide whether to extend or lift the stay after reviewing the parties’ report.
   7         3.     The parties shall notify the Court within seven days of learning that
   8 the Department of Justice investigation has concluded.
   9         IT IS SO ORDERED.
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  11 DATED: March 29, 2022
                                            Mark C. Scarsi
  12
                                            United States District Judge
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